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                UNITED STATES DISTRICT COURT
                      Northern District of Texas
                           Dallas Division

                                        §
  DWIGHT WHEELER,                       §
                                        §
                 Plaintiff              §
                                        §          Case No. 3:19-cv-457
  vs.                                   §
                                        §
  RINGADOC, INC.,                       §          JURY DEMANDED
  PRACTICE FUSION, INC.                 §
  and ALLSCRIPTS                        §
  HEALTHCARE                            §
  SOLUTIONS, INC.                       §
                                        §
                 Defendants             §

 ______________________________________________________

 PLAINTIFF DWIGHT WHEELER’S COMPLAINT AND DEMAND FOR JURY
                          TRIAL
 ______________________________________________________

        1. Plaintiff Dwight Wheeler (“Plaintiff”) brings this action to enforce the

 consumer-privacy provisions of the Telephone Consumer Protection Act

 (“TCPA”), a federal statute enacted in 1991 in response to widespread public

 outrage about the proliferation of intrusive, nuisance telemarketing practices. See

 Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 745 (2012).

        2.      “Voluminous consumer complaints about abuses of telephone

 technology – for example, computerized calls dispatched to private homes –



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 prompted Congress to pass the TCPA.” Id. at 744. In enacting the TCPA,

 Congress intended to give consumers a choice as to how creditors and telemarketers

 may call them. Thus, and as applicable here, Section 227(b)(1)(A)(iii) of the TCPA

 specifically prohibits the making of “any call (other than a call made for emergency

 purposes or made with the prior express consent of the called party) using any

 automatic telephone dialing system or an artificial or prerecorded voice … to any

 telephone number assigned to a … cellular telephone service[.]”

        3.      The TCPA prohibits calls to a cell phone made with an auto dialer

 or with a prerecorded voice unless prior express consent is given. Plaintiff never so

 consented.

        4.      The TCPA also prohibits calls made to telephone numbers on the

 national Do Not Call Registry (the “DNC Registry”).

        5.      Ringadoc, Inc. (“Ringadoc”) called Plaintiff’s cell phone using an

 auto dialer and/or a pre-recorded voice. Because Plaintiff had not given his consent

 to receive calls on his cell phone from Ringadoc, these calls violated the TCPA.

        6.      This is the exact scenario Congress attempted to prevent in enacting

 the TCPA. Plaintiff now seeks this Court's intervention and help in attempting to

 prohibit this unlawful conduct.




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                                          Parties

         7.      Plaintiff is a resident of the State of Texas and this Northern District

 for Texas. Plaintiff received the calls made subject of this suit in this District.

         8.      Plaintiff is the "called party" with respect to the calls placed to his

 cellular telephone number 702-XXX-7387.

         9.      Ringadoc, Inc. is a Delaware corporation with its principal place of

 business located at 650 Townsend Street, San Francisco, California 94103.

 Ringadoc may be served with process by serving its registered agent for service of

 process, The Corporation Trust Company, Corporation Trust Center, 1209

 Orange St., Wilmington, DE 19801.

         10.     Defendant Practice Fusion, Inc. (“Practice Fusion”) purchased

 Ringadoc and was its owner at the time of the calls. Practice Fusion encouraged and

 approved of Ringadoc’s practice of making illegal telephone solicitations and of

 Ringadoc’s calls to Plaintiff. Thus, Practice Fusion is liable for its liabilities. Practice

 Fusion may be served with process by serving its registered agent for service of

 process, The Corporation Trust Company, Corporation Trust Center, 1209

 Orange St., Wilmington, DE 19801.

         11.     Defendant Allscripts Healthcare Solutions, Inc. (“Allscripts”)

 subsequently purchased Practice Fusion and is liable for its liabilities. Allscripts

 may be served with process by serving its registered agent for service of process,


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 The Corporation Trust Company, Corporation Trust Center, 1209 Orange St.,

 Wilmington, DE 19801.

         12.     Ringadoc, Practice Fusion and Allscripts is each a “Defendant”

 and collectively “Defendants”.

                                 Jurisdiction & Venue

         13.     The Court has federal question subject matter jurisdiction over

 these TCPA claims. Mims v. Arrow Financial Services, LLC, 132 S. Ct. 740 (2012).

         14.     Supplemental jurisdiction exits pursuant to 28 U.S.C. § 1367.

         15.     Venue is proper pursuant to 28 U.S.C. § 1391 (b) because the

 Plaintiff is a resident of this District and Defendants have sufficient contacts in this

 State and District to subject them to personal jurisdiction. Ringadoc made calls to a

 resident of this District and the calls were received in this District.

                                 Article III Standing

         16. Plaintiff has Article III standing for his claim under the TCPA. Spokeo,

 Inc., v. Thomas Robins, 136 S. Ct. 1540 (2016). See also, Jamison v. Esurance Ins.

 Servs., Inc., No. 3:15-CV-2484-B, 2016 WL 320646, at *3 (N.D. Tex. Jan. 27, 2016).

 Plaintiff was harmed by Ringadoc’s actions of calling his cell phone without consent

 and with an ATDS and/or a pre-recorded voice in the following manners:

                 a. Plaintiff’s privacy was invaded by Ringadoc;

                 b. Plaintiff was harassed and abused by Ringadoc’s telephone calls;


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               c. Ringadoc’s calls were a nuisance to Plaintiff;

               d. Ringadoc’s calls upset Plaintiff emotionally;

               e. Plaintiff’s cell phone was unavailable for other use while

                   processing the illegal calls from Defendant;

               f. Ringadoc illegally seized Plaintiff’s cellular telephone line while

                   they made illegal calls to Plaintiff’s cellular telephone;

               g. Plaintiff’s cellular telephone line was occupied by multiple

                   unauthorized calls from Ringadoc;

               h. Ringadoc’s seizure of Plaintiff’s cellular telephone line was

                   intrusive; and

               i. Plaintiff was inconvenienced by, among other things, hearing

                   his cell phone ring, having to check the calling party and having

                   to delete messages left by Ringadoc.

                   The Telephone Consumer Protection Act

        17.    Advances in telecommunications technology have provided benefits

 to American society. But those benefits are not cost-free; new technologies bring

 with them new ways to intrude upon individual privacy and waste the time and

 money of consumers. The 1980s and 90s brought an explosion of abuses of

 telephone and facsimile technology, including the use of auto-dialers to clog

 telephone lines with unwanted calls, “robocalls” with unsolicited or unwanted,


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 prerecorded messages, and “junk faxes” that consume the recipients’ paper and

 ink and interfere with the transmission of legitimate messages.

          18.    In 1991, Congress enacted the TCPA to regulate the explosive

 growth of the telemarketing industry. In so doing, Congress recognized that

 “[u]nrestricted telemarketing . . . can be an intrusive invasion of privacy [.]”

 Telephone Consumer Protection Act of 1991, Pub. L. No. 102-243, § 2(5) (1991)

 (codified at 47 U.S.C. § 227).

          19.    Through the TCPA, Congress outlawed telemarketing via

 unsolicited automated or pre-recorded telephone calls (“robocalls”), finding:

          [R]esidential telephone subscribers consider automated or
          prerecorded telephone calls, regardless of the content or the initiator
          of the message, to be a nuisance and an invasion of privacy.
          ....

          Banning such automated or prerecorded telephone calls to the
          home, except when the receiving party consents to receiving the
          call[,] . . . is the only effective means of protecting telephone
          consumers from this nuisance and privacy invasion.

 Id. § 2(10) and (12); See also Mims, 132 S. Ct. at 745.

          20.    The TCPA regulates, among other things, the use of automated

 telephone equipment, or “auto-dialers.” Specifically, the plain language of section

 227(b)(1)(A)(iii) prohibits the use of auto-dialers to make any call to a wireless

 number in the absence of an emergency or the prior express consent of the called

 party.


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              The TCPA prohibits telemarketing calls to numbers listed
                   on the Do Not Call Registry, unless the caller
                        has the recipient’s express consent

        21.        The national Do Not Call Registry allows consumers to register

 their telephone numbers and thereby indicate their desire not to receive telephone

 solicitations at those numbers. See 47 C.F.R. § 64.1200(c)(2). A listing on the

 DNC Registry “must be honored indefinitely, or until the registration is cancelled

 by the consumer or the telephone number is removed by the database

 administrator.” Id.

        22.       The TCPA and implementing regulations prohibit the initiation of

 telephone solicitations to residential subscribers to the DNC Registry. 47 U.S.C. §

 227(c); 47 C.F.R. § 64.1200(c)(2).

        23.       The    Federal   Trade    Commission      (FTC)      amended     the

 Telemarketing Sales Rule (TSR) to give consumers a choice about whether they

 want to receive most telemarketing calls. As of October 1, 2003, it became illegal

 for most telemarketers or sellers to call a number listed on the DNC Registry. The

 DNC Registry applies to any plan, program, or campaign to sell goods or services

 through interstate phone calls. This includes telemarketers who solicit consumers,

 often on behalf of third-party sellers. It also includes sellers who provide, offer to

 provide, or arrange to provide goods or services to consumers in exchange for

 payment.



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        24.     The DNC Registry does not limit calls by political organizations,

 charities, or telephone surveyors. A telemarketer or seller may call a consumer with

 whom it has an established business relationship for up to 18 months after the

 consumer's last purchase, delivery, or payment—even if the consumer's number is

 on the Registry. In addition, a company may call a consumer for up to three months

 after the consumer makes an inquiry or submits an application to the company. And

 if a consumer has given a company express written permission, the company may

 call even if the consumer's number is on the DNC Registry. However, if a consumer

 asks a company not to call, the company may not call, even if there is an established

 business relationship. Indeed, a company may not call a consumer—regardless of

 whether the consumer's number is on the DNC Registry—if the consumer has

 asked to be put on the company's own do not call list.

        25.     A person whose number is on the DNC Registry, and who has

 received more than one telephone call within any twelve-month period by or on

 behalf of the same entity in violation of the TCPA, can sue the violator and seek

 statutory damages. 47 U.S.C. § 227(c)(5).

        26.     The regulations exempt from liability a caller who has obtained the

 subscriber’s signed, written agreement to receive telephone solicitations from the

 caller. 47 C.F.R. § 64.1200(c)(2)(ii). That agreement must also include the

 telephone number to which the calls may be placed. Id.


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                                  Factual Allegations

          27. Beginning on or about March 14, 2015, Plaintiff began receiving

 robocalls to his cellular phone number from Ringadoc.

          28. The calls were sales calls and an attempt to have Plaintiff register for

 Ringadoc’s service.

          29. Plaintiff documented at least 98 robocalls from Ringadoc after March

 14, 2015. Plaintiff told Ringadoc to stop calling his cellular telephone number eight

 times.

          30. On April 13, 2015, Plaintiff wrote a letter to Ringadoc concerning the

 problem.

          31. The calls did not stop.

          32. At no time did Plaintiff provide Ringadoc with consent to place any

 telephone calls, including any calls made through an ATDS, to his cellular

 telephone number.

          33.    At all times relevant herein, Ringadoc called Plaintiff’s cellular

 telephone using an artificial or prerecorded voice and/or an ATDS.

          34.    Within the four years prior to the filing to this lawsuit, Ringadoc has

 been placing telephone calls to Plaintiff’s cellular telephone number, 702-XXX-

 7387.




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         35.      Plaintiff is the subscriber for and regular user of cell phone number

  702-XXX-7387. Plaintiff is charged for calls made to cell phone number 702-XXX-

  7387 via a monthly charge.

         36.      Plaintiff’s telephone number 702-XXX-7387 is registered on the

  national Do Not Call Registry and was so listed for at least 60 days prior to receiving

  the first call from Ringadoc.

         37.      At all material times Plaintiff’s number 702-XXX-7387 was used for

  residential purposes.

         38.      Ringadoc placed automated calls to Plaintiff’ cell phones using an

  automatic telephone dialing system (“ATDS”) “which has the capacity to store or

  produce telephone numbers to be called, using a random or sequential number

  generator; and to dial such numbers as specified by 47 U.S.C. § 227(a)(1).”

         39.      When the calls connected, there was an audible click from the

  receiver. After a significant pause, a message was left by Ringadoc by a prerecorded

  voice. As such, the calls at issue were made using an automatic telephone dialing

  system, equipment having the capacity to dial Plaintiff’ numbers without human

  intervention.

         40.      The facts in the preceding paragraph indicate calls were placed

  through an “automatic telephone dialing system” as defined in 47 U.S.C. §

  227(a)(1).


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          41.     On many of the calls Ringadoc left a message consisting of a

  prerecorded voice. Plaintiff listened to the message and recognized that it was not

  a live person leaving the message but an automated voice recording.

          42.     The facts in the preceding paragraph indicate calls were placed using

  an “artificial or prerecorded voice.”

          43.     Plaintiff has not provided Ringadoc with his cell phone number or

  permission to call his cell phone number.

          44.     None of the calls at issue were placed by Ringadoc to Plaintiff’s cell

  phone were for "emergency purposes" as specified by the TCPA, 47 U.S.C. §227

  (b)(1)(A).

                                       Legal Claims

                               Count One Against Ringadoc:

                     Violation of the TCPA’s provisions prohibiting
                 auto-dialed and prerecorded message calls to cell phones

          45.     Plaintiff incorporates the allegations from all previous paragraphs as

  if fully set forth herein.

          46.     Ringadoc repeatedly placed non-emergency telephone calls to

  Plaintiff’s cellular telephone number using an automatic telephone dialing system

  or prerecorded or artificial voice without Plaintiff’ prior express consent in violation

  of the federal law, including 47 U.S.C. §227(b)(1)(A)(iii). Thus, Ringadoc violated




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  the TCPA by initiating a telephone call using an automated dialing system or

  prerecorded voice to Plaintiff’s telephone number assigned to a cellular telephone

  service.

            47.   In making the calls Ringadoc violated Plaintiff’s right to privacy and

  Plaintiff suffered actual damages as a result.

            48.   Plaintiff is informed, believes and alleges that Ringadoc’s violations

  of the TCPA described above were done willfully and knowingly.

            49.   The willful and knowing nature of Ringadoc’s conduct is exhibited

  in part by the following facts:

                  a. Ringadoc is a large corporation with access to legal advice

  through its own regulatory department and outside consumer-law counsel, and

  there is no contemporaneous evidence that it determined that its conduct was

  lawful;

                  b. Ringadoc knew or had reason to know that its conduct was

  inconsistent with published FCC guidance interpreting the TCPA and the plain

  language of the statute;

                  c. Ringadoc knew that Plaintiff had not consented to calls to his cell

  phone as Ringadoc did not receive Plaintiff’s cell phone numbers from Plaintiff;




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                  d. Upon information and belief Ringadoc knew that permission was

  required before Ringadoc could call Plaintiff’s cell phone using an auto-dialer or a

  prerecorded voice;

                  e. Plaintiff told Ringadoc to stop calling his phone number; and

                  f. Upon information and belief Ringadoc was aware of the

  requirements of the TCPA, but choose to not to comply with those requirements.

          50.     Plaintiff is entitled to actual damages and/or damages of $1,500 per

  violation pursuant to 47 U.S.C. §227(b)(3) because the violations were willful and

  knowing violations of the TCPA.

                                    Count Two:
                  Violation of the TCPA’s Do Not Call provisions

          51. Plaintiff incorporates the allegations from all previous paragraphs as if

  fully set forth herein.

          52.     47 U.S.C. § 227(c) provides that any “person who has received

  more than one telephone call within any 12-month period by or on behalf of the

  same entity in violation of the regulations prescribed under this subsection may”

  bring a private action based on a violation of said regulations, which were

  promulgated to protect telephone subscribers’ privacy rights to avoid receiving

  telephone solicitations to which they object.

          53.     The TCPA’s implementing regulation—47 C.F.R. § 64.1200(c)—

  provides that “[n]o person or entity shall initiate any telephone solicitation” to “[a]

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  residential telephone subscriber who has registered his or her telephone number on

  the national do-not-call registry of persons who do not wish to receive telephone

  solicitations that is maintained by the federal government.” See 47 C.F.R. §

  64.1200(c).

         54.     47 C.F.R. § 64.1200(e), provides that 47 C.F.R. §§ 64.1200(c) and

  (d) “are applicable to any person or entity making telephone solicitations or

  telemarketing calls to wireless telephone numbers to the extent described in the

  Commission’s Report and Order, CG Docket No. 02-278, FCC 03-153, ‘Rules and

  Regulations Implementing the Telephone Consumer Protection Act of 1991,’”

  which the Report and Order, in turn, provides as follows:

         The Commission’s rules provide that companies making telephone
         solicitations to residential telephone subscribers must comply with time of
         day restrictions and must institute procedures for maintaining do-not-call
         lists. For the reasons described above, we conclude that these rules apply to
         calls made to wireless telephone numbers. We believe that wireless
         subscribers should be afforded the same protections as wireline subscribers.


         55.     47 C.F.R. § 64.1200(d) further provides that “[n]o person or entity

  shall initiate any call for telemarketing purposes to a residential telephone

  subscriber unless such person or entity has instituted procedures for maintaining a

  list of persons who request not to receive telemarketing calls made by or on behalf

  of that person or entity. The procedures instituted must meet the following

  minimum standards:


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                (a) Written policy. Persons or entitles making calls for telemarketing
         purposes must have a written policy, available upon demand, for
         maintaining a do-not-call list.


                (b) Training of personnel engaged in telemarketing. Personnel
         engaged in any aspect of telemarketing must be informed and trained in the
         existence and use of the do-not-call list.


                  (c) Recording, disclosure of do-not-call requests. If a person or
         entity making a call for telemarketing purposes (or on whose behalf such a
         call is made) receives a request from a residential telephone subscriber not
         to receive calls from that person or entity, the person or entity must record
         the request and place the subscriber’s name, if provided, and telephone
         number on the do-not-call list at the time the request is made. Persons or
         entities making calls for telemarketing purposes (or on whose behalf such
         calls are made) must honor a residential subscriber’s do-not-call request
         within a reasonable time from the date such request is made. This period
         may not exceed thirty days from the date of such request…


                 (d) Identification of sellers and telemarketers. A person or entity
         making a call for telemarketing purposes must provide the called party with
         the name of the individual caller, the name of the person or entity on whose
         behalf the call is being made, and a telephone number or address at which
         the person or entity may be contacted. The telephone number provided may
         not be a 900 number or any other number for which charges exceed local or
         long distance transmission charges.


                 (e) Affiliated persons or entities. In the absence of a specific request
         by the subscriber to the contrary, a residential subscriber’s do-not-call
         request shall apply to the particular business entity making the call (or on
         whose behalf a call is made), and will not apply to affiliated entities unless
         the consumer reasonably would expect them to be included given the
         identification of the caller and the product being advertised.




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                 (f) Maintenance of do-not-call lists. A person or entity making calls
         for telemarketing purposes must maintain a record of a consumer’s request
         not to receive further telemarketing calls. A do-not-call request must be
         honored for 5 years from the time the request is made.


         56.       Ringadoc violated 47 C.F.R. § 64.1200(c) by initiating, or causing to

  be initiated, telephone solicitations to Plaintiff while his number was on the

  National Do Not Call Registry and had been for more than 60 days. Plaintiff

  requested to not receive calls from Ringadoc, as set forth in 47 C.F.R. §

  64.1200(d)(3).

         57.       Ringadoc made more than one unsolicited telephone call to Plaintiff

  within a 12-month period without their prior express consent to place such calls.

  Plaintiff never provided any form of consent to receive telephone calls from

  Ringadoc, and/or Ringadoc does not have a record of consent to place

  telemarketing calls to him.

         58.       Ringadoc violated 47 C.F.R. § 64.1200(d) by initiating calls for

  telemarketing purposes to residential and wireless telephone subscribers, such as

  Plaintiff, without instituting procedures that comply with the regulatory minimum

  standards for maintaining a list of persons who request not to receive telemarketing

  calls from them.

         59.       Ringadoc violated 47 U.S.C. § 227(c)(5) because Plaintiff received

  more than one telephone call in a 12-month period made by or on behalf of Ringadoc



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  in violation of 47 C.F.R. § 64.1200, as described above. As a result of Ringadoc’s

  conduct as alleged herein, Plaintiff suffered actual damages and, under section 47

  U.S.C. § 227(c), are each entitled, inter alia, to receive up to $500 in damages for

  such violations of 47 C.F.R. § 64.1200.

         60.     To the extent Ringadoc’s misconduct is determined to be willful and

  knowing, the Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of

  statutory damages recoverable by the members of the Class.

         61.     The Ringadoc’s violations were knowing/willful.

         62.     Plaintiff is entitled to actual damages and/or damages of $1,500 per

  violation pursuant to 47 U.S.C. § 227(c)(5) because the violations were willful and

  knowing violations of the TCPA.

                                    Count Three

                 Violation of Tex. Bus. & Com. Code, Chapter 305


         63.     Plaintiff incorporates by reference all of the above paragraphs as

  though fully stated herein.

         64.     Plaintiff is a “person” as defined by Texas Business & Commerce

  Code § 1-201(b)(27).

         65.     Ringadoc is a “person” as defined by Texas Business & Commerce

  Code § 1-201(b)(27).




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         66.     Pursuant to Section 305-053(a) of the Texas Business & Commerce

  Code, a person who receives a communication that violates 47 U.S.C. § 227, or a

  regulation adopted under that provision, may bring an action against the person who

  originates the communication for an injunction, damages or both an injunction and

  damages.

         67.     Plaintiff is entitled to a permanent injunction to prevent any further

  violations of the Texas Business & Commerce Code, Chapter 305.

         68.     Pursuant to Section 305-053(b) of the Texas Business & Commerce

  Code, Plaintiff is entitled to the greater of $500.00 for each violation or Plaintiff’s

  actual damages for each call negligently made by Ringadoc.

         69.     Pursuant to Section 305-053(c) of the Texas Business & Commerce

  Code, Plaintiff is entitled to not more than the greater of $1,500.00 for each

  violation or three times Plaintiff’s actual damages for each violation by Ringadoc

  that the Court finds was made knowingly or intentionally.


                                     Relief Sought

         70.     Plaintiff requests the following relief:

                 a. That after due notice and hearing, a permanent injunction be

  issued, restraining and enjoining Ringadoc, Ringadoc’s successors, assignees,

  officers, agents, servants, employees and attorneys and any other person in active

  concert or participation with Ringadoc from communicating with Plaintiff in a

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  manner that violates 47 U.S.C. § 227, and/or Texas Business & Commerce Code

  Chapter 305;

                 b. Defendants be found liable, jointly and severally, under the

  TCPA and Texas Business & Commerce Code, Chapter 305 and Plaintiff be

  awarded statutory damages of $500 per call for each negligent violation of the

  TCPA and/or Texas Business & Commerce Code, Chapter 305, and $1,500 per call

  for each willful/knowing violation of the TCPA and/or Texas Business &

  Commerce Code, Chapter 305; and

                 c. Plaintiff be granted other relief as is just and equitable under the

  circumstances.

         Plaintiff request a jury trial as to all claims of the complaint so triable.




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                                 Respectfully submitted:

                                 By:     /s/ Chris R. Miltenberger
                                         Chris R. Miltenberger
                                         Texas State Bar Number 14171200

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